                    UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF LOUISIANA

TITLE SOLUTION SERVICES, INC.                          CIVIL ACTION

VERSUS                                                 NO. 18-11508

CARRINGTON MORTGAGE SERVICES, LLC                      SECTION "B"(2)


                                OPINION

     The Court previously raised remand issues sua sponte after

granting in part defendant’s motion to dismiss for lack of subject-

matter jurisdiction. Rec. Doc. 11. The Court found that plaintiff

did not have standing to assert a claim over the original payoff

amount of $152,819.77 but did have standing to pursue a claim over

the $10,731.42 difference it paid from its own funds. Id. at 5.

Because the claim amount fell below the $75,000 threshold for

diversity jurisdiction, the Court instructed parties to submit

additional briefing on the issue of remand. Id. Both parties timely

complied. Rec. Docs. 11, 12.

     Plaintiff   contends   that   this   matter   should   be   remanded

because the amount in controversy falls well below the $75,000

threshold. Rec. Doc. 12. The actual damages alleged in plaintiff’s

original petition were $10,731.42, and although Louisiana’s unfair

trade practice statute provides for awarding three (3) times the

actual damages sustained, plaintiff states that this still would

not exceed the diversity jurisdiction threshold. Id. at 2 (citing

L.S.A.-R.S. 51:1409(A)). Further, because the amount of attorney’s

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fees that may be incurred in this suit have not been calculated,

it cannot be used to add to the amount required to establish

diversity      jurisdiction.         On   the      other     hand,        defendant      opposes

remand because it claims that the amount in controversy exceeded

$75,000 at the time of removal and the Court’s post-removal order

does not divest the Court of diversity jurisdiction. Rec. Doc. 13.

       Post-removal         affidavits,            stipulations,           and      amendments

reducing the amount-in-controversy do not deprive the district

court of jurisdiction. See St. Paul Mercury Indem. Co. v. Red Cab

Co.,     303    U.S.    283,    289-92         (1938).       However, at the time of

filing the state action and subsequent removal notice, plaintiff

only had standing to assert                a       claim    well     below       the     minimum

amount    for       diversity jurisdiction.                The     only    claim       then   and

remaining      is    for    the $10,731.42 difference plaintiff paid from

its    own     funds,      subject    to       a    triple       multiplier         under     the

Louisiana unfair trade practice statute. The damages at issue do

not meet the amount-in-controversy                     requirement           for       diversity

jurisdiction;           thus,        the           Court         lacks       subject-matter

jurisdiction. “If at any time before final judgment it                                   appears

that         the       district           court            lacks          subject         matter

jurisdiction, the case shall be remanded.” 28 U.S.C. § 1447 (c).



       Accordingly,



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    IT IS ORDERED that the above-captioned matter is REMANDED to

the 22nd Judicial District Court for the Parish of St. Tammany.

    New Orleans, Louisiana this 28th day of August 2019



                              ___________________________________
                              SENIOR UNITED STATES DISTRICT JUDGE




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